                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CIVIL ACTION NO. 1:21CV744

 KATHY HUNTER HARRINGTON, as
 Administrator of the Estate of Wesley
 Hunter, deceased,

      Plaintiff,

 v.
                                                 CONSENT MOTION TO AMEND
 SOUTHERN HEALTH PARTNERS,                           RULE 26(F) REPORT
 INC, and K. CARLTON and KAREN
 RUSSELL, J. AUTEN, in his individual
 capacity, M. PRICE, in his individual
 capacity, MICHAEL ROGERS, in his
 individual capacity, CABARRUS
 COUNTY SHERIFF’S DEPARTMENT,
 and CABARRUS COUNTY,

      Defendants.

        NOW COMES the plaintiff with Consent of the defendants, moving the Court to

amend the Rule 26(f) Report (Doc. #28, ¶3) with regard to the appointment of Ray Owens as

mediator. Due to a scheduling conflict, the parties have consented to substitute Rene Trehy

as mediator. All fees owed and/or due to Ray Owens have been satisfied.

        WHEREFORE, the parties move the Court to amend its Order (Doc. #31) to reflect

the parties’ Consent Motion to substitute Rene Trehy as mediator in this matter.


        This the 31st day of August, 2022.

                                   /s/ Fred W. DeVore, III
                                   Fred W. DeVore, III, NC Bar #10308
                                   F. William DeVore, IV, NC Bar #39633
                                   Brittany N. Conner, NC Bar #53913
                                   Attorneys for Plaintiff




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                               DeVore, Acton & Stafford, P.A.
                               438 Queens Road
                               Charlotte, NC 28207
                               Telephone: 704-377-5242
                               Facsimile: 704-332-2825
                               fdevore@devact.com
                               wdevore@devact.com
                               bconner@devact.com

Consented:

/s/ W. Gregory Merritt                      /s/ James D. McAlister
W. Gregory Merritt, NC State Bar 23333      James D. McAlister, NC State Bar 035432
wgm@hcwb.net                                jmcalister@mgclaw.com
Harris, Creech, Ward & Blackerby, P.A.      McAngus Goudelock & Courie
325 Pollock Street                          6302 Fairview Road Ste 700
P.O. Drawer 1168                            Charlotte, NC 28210-2267
New Bern, NC 28563-1168                     Main:704-643-6303|Direct:704-405-4638
Telephone: (252) 638-6666                   Fax:704-643-2376
Attorneys for Southern Health Partners,     Attorney for Defendants Cabarrus County,
Inc.,                                       Cabarrus County Sheriff’s Department, J.
Kelly Carlton, LPN, and Karen Russell, PA   Auten, M. Price, and Michael Rogers




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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the attached were served upon the opposing parties, or their
attorneys via US Mail and/or email and addressed as follows:

 W. Gregory Merritt, NC State Bar 23333        James D. McAlister, NC State Bar 035432
 wgm@hcwb.net                                  jmcalister@mgclaw.com
 Harris, Creech, Ward & Blackerby, P.A.        McAngus Goudelock & Courie
 325 Pollock Street                            6302 Fairview Road Ste 700
 P.O. Drawer 1168                              Charlotte, NC 28210-2267
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 Telephone: (252) 638-6666                     Fax:704-643-2376
 Attorneys for Southern Health Partners,       Attorney for Defendants Cabarrus County,
 Inc.,                                         Cabarrus County Sheriff’s Department, J.
 Kelly Carlton, LPN, and Karen Russell,        Auten, M. Price, and Michael Rogers
 PA
      This the 31st day of August, 2022.


                                  /s/ Fred W. DeVore, III
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                                  Attorneys for Plaintiff
                                  DeVore, Acton & Stafford, P.A.
                                  438 Queens Road
                                  Charlotte, NC 28207
                                  Telephone: 704-377-5242
                                  Facsimile: 704-332-2825
                                  fdevore@devact.com
                                  wdevore@devact.com
                                  bconner@devact.com




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